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                                         #:171


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 12   Attorneys for Plaintiff
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 13
 14                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 15                              WESTERN DIVISION
 16
 17   RUBEN FLORES,                                   Case No.: 2:25-cv-01621-WLH-SK
 18
                             Plaintiff,               DECLARATION OF MEIR
 19   vs.                                             RUBINOV IN OPPOSITION OF
 20                                                   DEFENDANT ASSUREHIRE,
      ASSUREHIRE, INC.,                               INC.’S MOTION TO DISMISS
 21                                                   PURSUANT TO FED. R. CIV. P.
 22                          Defendant.               12(b)(6)
 23
                                                      Hearing Date: June 6, 2025
 24                                                   Hearing Time: 1:30 p.m.
                                                      Courtroom: 9B
 25
 26                                                   Complaint filed: February 26, 2025
                                                      Trial Date: Not set
 27
 28
                                                  1
                           DECLARATION OF MEIR RUBINOV IN OPPOSITION OF
            DEFENDANT ASSUREHIRE, INC.’S MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(6)
Case 2:25-cv-01621-WLH-SK      Document 21-1       Filed 05/16/25   Page 2 of 2 Page ID
                                      #:172


  1         Meir Rubinov, an attorney duly admitted pro hac vice to practice in this
  2
      District, hereby declares as follows:
  3
  4         1.     I am associated with the law firm of Consumer Attorneys, PLLC,

  5   counsel for Plaintiff in this action. I am actively involved in the prosecution of this
  6
      action, and familiar with its proceedings.
  7
  8         2.     I offer this declaration in opposition to Defendant AssureHire Inc.’s
  9   motion to dismiss for the limited purpose of introducing documents that are cited in
 10
      the accompanying memorandum of law in opposition to the motion to dismiss.
 11
 12         3.     Exhibit 1 is the clean version of Plaintiff’s Proposed Amended
 13   Complaint for Violations of the Fair Credit Reporting Act (the “PAC”).
 14
            4.     Exhibit 2 is a redline comparing the operative complaint in this matter
 15
 16   (ECF No. 1) with the PAC.
 17         I declare under penalty of perjury that the foregoing is true and correct.
 18
 19
                                                   /s/ Meir Rubinov
 20
 21                                                Meir Rubinov

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                                               2
                        DECLARATION OF MEIR RUBINOV IN OPPOSITION OF
         DEFENDANT ASSUREHIRE, INC.’S MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(6)
